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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE



   UNITED STATES OF AMERICA                                                            PLAINTIFF

   VS.                                                                       NO. 3:09CR-153-03-S

   OSWALDO GUARDA-MONDRAGON                                                          DEFENDANT



                               REPORT AND RECOMMENDATION
                                CONCERNING PLEA OF GUILTY

           This matter has been referred to the undersigned Magistrate Judge by the District Court

   for the purpose of conducting proceedings pursuant to Fed.R.Crim.P. 11. The appropriate

   wavier was executed by the defendant and filed in the record. The United States was represented

   by Larry Fentress, Assistant United States Attorney. The hearing was recorded by Dena Legg,

   Official Court Reporter. The proceedings were interpreted by Teresa Thorpe, certified Spanish

   Interpreter.   The Defendant, Oswaldo Guarda-Mondragon, by consent and with Jonathan

   Ricketts, appointed counsel, appeared in open court on April 22, 2010, and entered pleas of

   guilty as to Counts 1, 3 and 4 of the Indictment pursuant to a Rule 11(c)(1)(B) plea agreement.

   After cautioning and examining the Defendant under oath concerning each of the subjects

   mentioned in Rule 11, the Court determined that the guilty pleas were knowledgeable and

   voluntary as to Counts 1, 3 and 4 of the Indictment, and that the offenses charged were

   supported by an independent basis in fact concerning each of the essential elements of such

   offenses. Therefore, the undersigned recommend’s that the pleas of guilty be accepted, and that

   the Defendant be adjudged guilty as to Counts 1, 3 and 4 in the Indictment and have sentence

   imposed accordingly.
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          Sentencing is hereby scheduled for July 27, 2010 at 10:00 a.m. before the Honorable

   Charles R. Simpson III, Judge United States District Court .

          The defendant shall have fourteen (14) days to file any objections to this

   recommendation pursuant to Fed.R.Crim.P. 72(b), or waive the opportunity to do so.

                  IT IS HEREBY ORDERED that the defendant shall be remanded to the

   custody of the United States Marshal.



   Date: April 26, 2010




   Copies to:
   United States Attorney
   Counsel for Defendant                                          April 26, 2010
   United States Marshal
   United States Probation




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